                                      CASE 0:21-cr-00232-ECT-LIB Doc. 5 Filed 10/29/21 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )             COURTROOM MINUTES - CRIMINAL
                                                            )                  BEFORE: Jon T. Huseby
                                         Plaintiff,         )                   U.S. Magistrate Judge
                                                            )
   v.                                                       )    Case No:               21-232 ECT/LIB
                                                            )    Date:                  October 29, 2021
Paul John Sayers,                                           )    Video Conference
                                                            )    Time Commenced:        9:05 a.m.
                                         Defendant,         )    Time Concluded:        9:13 a.m.
                                                                 Time in Court:         8 minutes




APPEARANCES:
   Plaintiff: Sarah Hudleston, Assistant U.S. Attorney
   Defendant: Doug Olson, Assistant Federal Public Defender
                          X FPD          X To be appointed

   Date Charges Filed: 10/26/2021                          Offense: aggravated sexual assault

   X Advised of Rights

on            X Indictment

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Next appearance date is November 2, 2021 at 10:30 a.m.via video conference before U.S. Magistrate Judge Leo I.
Brisbois for:
 X Detention hrg        X Arraignment hrg

X Government moves to unseal the case.                     X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                      s/JAM
                                                                                                    Signature of Courtroom Deputy




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